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                            UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION                                                   ENTERED
                                                                                                       06/30/2020
IN RE:                                               §
HOUTEX BUILDERS, LLC, et al                          §        CASE NO: 18-34658
                                                     §
415 SHADYWOOD, LLC                                   §        CASE NO: 18-34659
                                                     §
2203 LOOSCAN LANE, LLC                               §        CASE NO: 18-34660
                                                     §        Jointly Administered Order
         Debtor(s)                                   §
                                                     §        CHAPTER 11

    ORDER SETTING DISCOVERY DEADLINE AND TRIAL OF CLAIM OBJECTIONS

        Before the Court are various claim objections:

       In Houtex Builders, LLC Objections to Claim 9 (Anna Williams) ECF No. 336; Claims
10, 11 (1040 Hyde Park, LLC) ECF No. 335; Claims 12, 13, 16 (CD Homes, LLC) ECF No.
324, 334, 515; Claim 17 (Charles Foster) ECF No. 373.

       In Shadywood Objections to Claim 3 (Anna Williams) ECF No. 17, 20; Claims 4, 5, 6, 7
(CD Homes, LLC) ECF No. 15, 19, 40; Claims 8, 9 (1040 Hyde Park LLC) ECF 16, 21; Claim
10 (Charles Foster) ECF No. 24.

        In 2203 Looscan Lane, LLC Objections to Claims 3, 4 (CD Homes, LLC) ECF No. 10,
14, 33; Claim 5 (Anna Williams) ECF No. 11, 13; Claim 7 (Charles Foster) ECF No. 17.

       A final hearing on the Claim Objections is set for 9:00 a.m. on September 28, 2020. Two
days are reserved for trial.

       The parties may conduct further discovery until August 28, 2020. Each side shall file and
serve on opposing counsel a trial brief or memorandum with proposed findings of fact and
conclusions of law by 5:00 p.m. on September 21, 2020.

        The burden of proof, in part, has been determined by a prior order.1

        The Court will hear evidence cumulatively but the hearing order will be as follows:

        (a) Objections to claims of Anna Williams.2
        (b) Objections to Claims of CD Homes, LLC.3

1
  See ECF No. 508, for the Court’s previous holding that the debtor entities have met their initial burden
of proof as to the claims of Anna Williams and CD Homes, LLC.
2
  Burden of proof is on the claimant.
1/2
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        (c) Objections to Claims of Charles Foster.4
        (d) Objections to Claims of 1040 Hyde Park LLC.5


        SO ORDERED.


        SIGNED: 06/30/2020.


                                               ___________________________________
                                               Jeffrey P. Norman
                                               United States Bankruptcy Judge




3
  Burden of proof is on the claimant.
4
  Burden of proof is on the objecting party.
5
  Burden of proof is on the objecting party.
2/2
